Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           SO UTH ERN D ISTR ICT O F FL O RID A

                        CA SE N O .:2:19-cv-21380-M O R EN O/LO UIS

  SVCURITIES AND EXCHANGE
  CO M M ISSIO N ,

                              Plaintiff,

  V.

  IV AN A C EV ED O
  andDANE R.ROSEMAN
  a/k/a D AY N E R .R O SEM AN ,

                              D efendants.




               FINAL JUDGM ENT A S TO DEFENDANT IVAN A CEVEDO

        The Securities and Exchange Com m ission having filed a Com plaint and D efçndantlvan

  Acevedo having entered a general appearance; consented to the Cou/'s jurisdiction over
  Defendantandthesubjectmatterofthisaction;consentedtoentrypftliisFinalJudgment;waived
  findingsoffactand conclusionsoflaw;andwaivedany rightto appealfrom thisFinalJudgm ent:

                                              1.

                           PERM ANENT INJUNCTIVE RELIEF
                  .
                                              A.
            Section 10(b)oftheSecuritiesExchangeActof1934(ddExchangeAct'')
                                   @nd Rule 10b-5 thereunder


        IT IS H ERE BY O R DER ED , A D JUD G ED , A N D DE CR EED that D efendant is

  permaneptly restrained and enjoined from violating,directly orindirectly,Section 10(b)ofthe
  ExchangeAct(15U.S.C.j78j(b))andRule10b-5promulgatedtheieundez(17C.F.R.5240.10b=


                                               1
Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 2 of 7




  5q,byusinganymeansorinstrumentalityofinterstatecommerce,orofthemails,orofanyfacility
  ofany nationalsecuritiesexchange,in comwction with thepurchaseorsaleofany security:

         (a)    to employ anydevice,scheme,orartificetodefraud;
         (b)    to makeany untnle statementofamaterialfactorto omittd stateamaterialfact
                necessary in orderto m ake the statem ents m ade,in the lightofthe circum stances

                underwhich they werem ade,notm isleading;or

                to engage in any act,practice,or course of business which operates or would

                operate as a fraud ordeceitupon any person,

  w ith respectto:

                (A)anyinvestmentstrategyorinvestmentin securities,
                (B)theprospects'forsuccessofan# ptoductorcompany,
                (C)theuseofinvestorfunds,
                (D)compensationtoanyperson,
                (E)themisappropriation ofinvestorftmdsorinvestmentproceeds.
         IT IS FUR TH ER O R D ERED , A DJUD G ED , AN D DE CR EED that, as provided in

  FederalRuleofCivilProcedtlre65(d)(2),theforegoingparagraph alsobindsthefollowingwho
  receive actualnoticeofthisFinalJudgmentby personalservice orotherwise: (a)Defendant's
  ofticers,agents,selwants,employees,arld attonwys;and (b)otherpersonsin activeconcertor
  participationwithDefendantorwithanyonedescribedin (a).
                                               B.
                     Section 17(a)oftheSecuritiesActof1933(tssecuritiesAct'')

         IT IS H EREBY FU R TH ER O R DE RED , A DJUD G ED , AN D D ECR EED that

  Defendantispermanentlyrestrained atld enjoined from violating Section 17(a)oftheSecurities
Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 3 of 7




  Actg15U.S.C.j77q(a)qintheofferorsaleofany securitybytheuseofanymeansorinstnlments
  oftransportation orcom m unication in interstate comm erce orby use of the m ails,directly or

  indirectly'
            .

         (a)    toemployany device,scheme,orartificet
                                                    .odefraud;
         (b)    to obtain money orproperty by meansofany untruestatementofamaterialfact
                or any om ission of a m aterial fact necessary in order to m ake the statem ents

                made,in lightofthe circumstancesunderwhich they werem ade,notm isleading;



                to engage in any transaction,practice,orcourse ofbusiness which opergtes or

                would operqteasa frau
                                    'd ordeceitupon thepurchaser,

  w ith respectto:

                (A)any investmentstrategyorinvestmentinsecurities,
                (B)theprospectsforsuccessofanyproductorcompany,
                (C)theuseofinvestorfunds,
                (D)compensationtoanyperson,
                (E)themisappropriationofinvqstorfundsorinvestmentproceeds.
         IT IS FU RTH ER O RD ER ED ,A D JUD G ED , A ND D EC REE D that, as provided in

  FederalRuleofCivilProcedure65(d)(2),theforegoingparagraph also bindsthefollowingwho
  receivè actualnotice ofthisFinalJudgmentby personalselwice orotherwise: (a)Defendant's
  officers,agents,smwants,employees,and attorneys;and (b)otherpersonsin active concertor
  participationwithDefendantorwithanyonedescribedin (a).




                                               3
Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 4 of 7




                                               C.
                                Section 5oftheSecuritiesict
        IT IS H ER EBY FUR TH ER O R DER ED ,AD TUD G ED ,AN D D Ec R EED that

  Defendantispennanentlyrestrainedandenjoined from violatingSection5oftheSeculitiesAct
  g15U.S.C.j77e)by,directlyorindirectly,intheabsenceofany applicableexemption:
        (a)   Unlessaregistrationstatementisineffectastoasecurity,makinguseofany
              m eansorinstrum ents oftransportation orcom m unication in interstate com m erce

               or ofthe m ailsto sellsuch security tlzrough the use orm edium ofany prospectus

               orotherwise;

        (b)    Unlessaregistrationstatementisineffectastoasecurity,canyingorcausingto
               be carried through themailsorirèinterstate comm erce,by any m eansor

               instrum entsoftransportation,any such security forthepup ose ofsale orfor

               délivery after sale;or

               M aking use ofany m eans orinstrum ents oftransportation orcom m unication in

               interstatecom m erceorofthem ailsto offerto sellorofferto buy through$heuse

               orm edium ofany prospectus or otherw ise any sectzrity,tm lepsa registration

               statem enthasbeen filed withthe Com mission asto such secuyity,orwhilethe

               registrationstatemehtisthesubjectofàrefusalorderorstop orderor(priortothe
               effectivedateoftheregistrationstatement)anypublicproceeding orexamination
               underSection8oftheSecuritiegAct(15U.S.C.j77h).
        IT IS FUR TH E R O RD ERED ,A D JUD G ED ,A N D D EC RE ED that,asprovided in

  FederalRuleofCivilProcedure65(d)(2),theforegoingparagraph alsobindsthefollowingwho
  receiveactualnoticeofthisFinalJudgmentbypersonalserviceorotherwise:(a)Defendant's
Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 5 of 7




  officers,agents,servants,employees,andattorneys;and(b)otherpersonsinactiveconcertor
  participationwithDefendantorwithanyopedescribedin (a).

                                                 D.
                               Section 15(a)(1)oftheExchangeAct
         IT IS FURTH ER ORDERED, ADJUDGXD, AND DECREED that Defendant is

  permanentlyrestrainedandenjoinedfrom violating,directly orindirectly,Section 15(a)(1)ofthe
  ExchangeActg15U.S.C.j78o(a)(1))bymakinguseofanymeansorinstrumentalityofinterstate
  com m erce or of the m ails and engaging in the business ofeffecting transactions in securities for

  the accounts of others, or inducing or effecting the purchase and sale of securities,w hile not

  registered with the Commission in accordance with the provisions of Section 15(b) ofthe
  ExchangeAct,orwhilenotassociatedwith abroker-dealerthatwasso registered.

         IT IS FURTHER ORDERED,ADJUDGED,AND DECRFED that,as provided in

  FederalRuleofCivilProcedtlre65(d)(2),theforegoingparagraph also bindsthefollowingwh0
  receiveacfualnoticeofthisJudgmentbypersonalserviceorotherwise:(a)Defendant'soffcers,
  agents,servants,employees,andattorneys;and(b)otherpersonsinactiveconcertorparticipqtion
  withDefendantorwith anyonedescribedin(a).

                                                 II.

                    D ISG O R G E M ENT AN D PR EJUD G M EN T IN TER E ST

         IT IS H ER EBY FU R TH ER O R DER ED , A D JUD G ED , A N D D ECR EED that

  Defendantisliablefordisgorgqmentof$743,059,representingnetprotitsgained asaresultofthe

  conductalleged in the Complaint,togetherwith prejudgmentinterestthereon in the amountof
  $161,303.92. Defendant's obligation to pay disgorgement and prejudgment interest of
  $904,362.92 isdeem ed satisfied by theam ountofrçstitution ordered againsttheDefendantin the
Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 6 of 7




  caseofUnitedstatesv.Acevedo,No.19-0R-20178(S.D.F1a)docket.enfly #325.
                                                  111.

                         D ISM ISSA L O F CIV IL PENA L TY C LA IM

         IT IS FURTH ER ORDERED,ADJUDGED,AND DECREED thatpursuantto the

  term softheparties'Consent,theComm ission'sclaim fora civilpenalty againstthe Defendantis
  dismissed in light.ofDefendant'scriminalconviction and sentence in.United Statesv.Acevedo,

  No.19-CR-20178(S.D.Fla).

                                                  IA?.

                              INCOV ORATION OF CONSENT
         IT IS FU RT H ER O R DE RED , A DJU D G ED ,A N D D E CR EED that the Consent is

  incom orated herein with the sam e force and effectasiffully setforth herein,and thatDefendant
                                              .




  shallcomply with a11pf$heundertakingsand agreem eptssetforth therein.


                                                  V.

                         BA N K R U PTC Y N O ND ISCH A R G EA BILITY

         IT Is FIJRTHER ORDERàD,ADJIJDGED,ANo DEcltE>m that,orpurposejof
  exceptionsto discharge setforth in Section 523 ofthe Bankruptcy Code,11U.S.C.5523,the
  allegations in the Complaint are true and admitted by Defendant, and f'urther, any debt for

  disgorgement,prejudgmentinterest,civilpenaltyorotheramountsdue by Defendantunderthis
  FinalJudgmentor any otherjudgment,order,consentorder,decree orsellenaentagreernent
   entered in connection with thisprpceeding,isa debtfortheviolation by Defendantofthefederal

   securities law sorany regulation ororderissuedundersuchlaws,assetforthinSection523(a)(19)
                              .




   oftheBankruptcy Code,11U.S.C.j523(a)(19).
Case 1:19-cv-21380-FAM Document 21 Entered on FLSD Docket 12/14/2021 Page 7 of 7




                                          V I.

                            RETENTION 017JURISDICTION
          IT IS FURTH ER ORDERED,ADJUDGED ,AND DECREED thatthisCourtshall

  retainjurisdictionofthismatterforthepum osesofenforcingthetel'
                                                               m softhisFinalJudgment.
                                                                 P
          DONE AND ORDERED in chambersatM iam i,Florida,this        d:y of
  2021.


                                         FEDERIIJJV .,M        NO
                                         PNITED STATESDISTRICT XJDGX




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